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Fill in this information to identify your case:

United States Bankruptcy Court for the:

SOUTHERN DISTRICT OF TEXAS

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           04/20
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Aztec/Shaffer, LLC

2.   All other names debtor
     used in the last 8 years
                                  DBA Aztec Events & Tents
     Include any assumed          DBA Shaffer Sports & Events
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  601 W. 6th Street
                                  Houston, TX 77007
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Harris                                                          Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       https://aztecusa.com/


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
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Debtor    Aztec/Shaffer, LLC                                                                            Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.



8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                          Chapter 7
     debtor filing?
                                          Chapter 9

     A debtor who is a “small             Chapter 11. Check all that apply:
     business debtor” must check
     the first sub-box. A debtor as                               The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     defined in § 1182(1) who                                     noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     elects to proceed under                                      $2,725,625. If this sub-box is selected, attach the most recent balance sheet, statement of
     subchapter V of chapter 11                                   operations, cash-flow statement, and federal income tax return or if any of these documents do not
     (whether or not the debtor is a                              exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     “small business debtor”) must                                The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
     check the second sub-box.                                    debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                  proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                  balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                  any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                  A plan is being filed with this petition.
                                                                  Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                  accordance with 11 U.S.C. § 1126(b).
                                                                  The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                  Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                  Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                  (Official Form 201A) with this form.
                                                                  The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12

9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                               District   S.D.Tx.                       When      11/17/20                    Case number   20-3599
                                                  District                                 When                                  Case number


10. Are any bankruptcy cases              No
    pending or being filed by a
    business partner or an                Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                       Debtor     ASAIG, LLC                                                      Relationship            Parent
                                                  District   S.D.TX.                       When      11/17/20                Case number, if known   20-35600


Official Form 201                               Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                  page 2
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Debtor   Aztec/Shaffer, LLC                                                                        Case number (if known)
         Name



11. Why is the case filed in    Check all that apply:
    this district?
                                         Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                         preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                         A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or          No
    have possession of any
    real property or personal                Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                    Yes.
    property that needs
    immediate attention?                     Why does the property need immediate attention? (Check all that apply.)
                                                It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                               What is the hazard?
                                                It needs to be physically secured or protected from the weather.
                                                It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                               livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                Other
                                             Where is the property?
                                                                              Number, Street, City, State & ZIP Code
                                             Is the property insured?
                                                No
                                                Yes.    Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .         Check one:
    available funds
                                             Funds will be available for distribution to unsecured creditors.
                                             After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of             1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                        5001-10,000                                 50,001-100,000
                                    50-99
                                    100-199                                          10,001-25,000                               More than100,000
                                    200-999

15. Estimated Assets                $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities           $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion




Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
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Debtor    Aztec/Shaffer, LLC                                                                       Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      November 24, 2020
                                                  MM / DD / YYYY


                             X   /s/ A. Kelly Williams                                                    A. Kelly Williams
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   Authorized Representative




18. Signature of attorney    X   /s/ Matthew Okin                                                          Date November 24, 2020
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Matthew Okin
                                 Printed name

                                 Okin Adams LLP
                                 Firm name

                                 1113 Vine St., Suite 240
                                 Houston, TX 77002
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     (713) 228-4100                Email address      info@okinadams.com

                                 00784695 TX
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 4
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                                                                                          EXHIBIT A

      APPROVAL OF FILING OF CHAPTER 11 BANKRUPTCY PROCEEDINGS

        WHEREAS, on November 17, 2020 the Managers of the Company deemed it advisable
and in the best interests of the Company, and its creditors, members, and other interested parties,
that the Company and its subsidiary, Aztec / Shaffer, LLC, a Texas limited liability company (the
“Subsidiary”), file petitions (“Petitions”) and commence cases (the “Chapter 11 Cases”) seeking
relief under the provisions of chapter 11 of title 11 of the United States Bankruptcy Code (the
“Bankruptcy Code”) in the United States Bankruptcy Court for the Southern District of Texas,
Houston Division (the “Bankruptcy Court”) for the purpose of restructuring the Company’s and
Subsidiary’s business affairs; and

     WHEREAS, the Subsidiary’s Chapter 11 Case was assigned Case No. 20-35599, and the
Company’s Chapter 11 Case was assigned Case No. 20-355600; and

        WHEREAS, on November 23, 2020, the Bankruptcy Court found and concluded that (i)
the Petition of the Company was validly authorized and filed; and (ii) the Petition of the Subsidiary
was invalidly filed and therefore struck the Subsidiary’s Petition; and

        WHEREAS, the Bankruptcy Court found that Timothy R. Hassenger (“Hassenger”) was
validly installed as Manager of the Subsidiary on November 17, 2020; and

       WHEREAS, on November 24, 2020, Hassenger submitted his resignation as Manager of
the Subsidiary; and

         WHEREAS, the Managers of the Company have reviewed the Subsidiary’s materials
regarding the liabilities and liquidity situation of the Subsidiary, the strategic alternatives available
to it, and the effect of the foregoing on the Subsidiary’s and Company’s business; and

      WHEREAS, the Managers have had the opportunity to consult with the management of
the Company and fully consider each of the strategic alternatives available to the Subsidiary;

                NOW, THEREFORE, BE IT:

Reinstatement of Subsidiary’s Limited Liability Company Agreement

        RESOLVED, that the Managers determine that it is desirable and in the best interests of
the Company and the Subsidiary to strike that certain Second Amended and Restated Limited
Liability Company Agreement of Aztec / Shaffer, LLC dated November 17, 2020 (the “Amended
Agreement”) and replace it with the Current Agreement dated August 14, 2019, as defined and
more fully described in the Amended Agreement; and further

Chapter 11 Filings

     RESOLVED, that the Subsidiary be authorized and directed to file a voluntary Petition and
commence a new Chapter 11 Case in the United States Bankruptcy Court for the Southern District




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of Texas (the “Bankruptcy Court”), which Chapter 11 Case shall be jointly-administered with the
case of the Company; and further

        RESOLVED, that the Managers hereby authorize, direct, empower and appoint A. Kelly
Williams (the “Authorized Representative”), as the Subsidiary’s representative, acting in the name
and on behalf of the Subsidiary, to: (i) execute and verify the Subsidiary’s Petition as well as all
other ancillary documents, and to cause the Petition to be filed with the Bankruptcy Court, and to
make or cause to be made prior to the execution thereof any modifications to the Petition or
ancillary documents; (ii) execute, verify, and file or cause to be filed all of the petitions, schedules,
lists, motions, applications, and other papers or documents advisable, appropriate, convenient,
desirable or necessary in connection with the foregoing; and (iii) to conduct the restructuring and
execute all documents or papers necessary or desirable to effectuate the proposed restructuring;
and further

Retention of Professionals

       RESOLVED, that the Managers hereby authorize and direct the Authorized
Representative, in the name and on behalf of the Subsidiary, to employ any individual and/or firm
as counsel, professionals, consultants or financial advisors to the Subsidiary as the Authorized
Representative may deem advisable, appropriate, convenient, desirable or necessary to represent
and assist the Subsidiary in carrying out its duties under the Bankruptcy Code and any other
applicable law; and further

        RESOLVED, that the Managers hereby authorize the retention of the law firm of Okin
Adams LLP (“Okin Adams”) to represent the Subsidiary as general bankruptcy counsel and to
represent and assist the Subsidiary in carrying out its duties under the Bankruptcy Code, and to
take any and all actions to advance the Subsidiary’s rights, including the preparation of pleadings
and filings in the Subsidiary’s Chapter 11 Case; and in connection therewith, the Authorized
Representative is authorized and directed, in the name and on behalf of the Subsidiary, to execute
appropriate retention agreements, pay appropriate retainers prior to and immediately upon the
filing of the Petition and to cause to be filed an appropriate application for authority to retain the
services of Okin Adams; and further

Ratification of Prior Acts

       RESOLVED, that all actions by the Authorized Representative and officers of the
Subsidiary heretofore taken, and expressly approved by the Authorized Representative, in
connection with the subject of the foregoing resolutions be, and they hereby are, approved, ratified
and confirmed in all respects as the acts and deeds of the Subsidiary; and further

         RESOLVED, that all prior lawful acts taken or caused to be taken with the express
approval of the Authorized Representative by or on behalf of the Subsidiary by any of its officers
and authorized agents, including, but not limited to, any and all acts taken or caused to be taken in
connection with the foregoing resolutions, which were done in reliance on the Managers’
expressed desire to reorganize the Subsidiary’s debts and business affairs, and the negotiation and
preparation of documents and actions ancillary thereto are hereby ratified, approved and confirmed
in all respects and adopted as the acts of the Subsidiary, as applicable; and further



                                                   3
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        RESOLVED, that the Authorized Representative and any of the appropriate Managers and
officers of the Subsidiary expressly authorized by the Authorized Representative be, and each of
them hereby are, authorized: (i) to prepare, execute, deliver and perform, as the case may be, such
agreements, amendments, applications, approvals, certificates, communications, consents,
demands, directions, documents, further assurances, instruments, notices, orders, requests,
resolutions, supplements or undertakings; (ii) to pay or cause to be paid on behalf of the Subsidiary
any related costs and expenses; and (iii) to take such other actions, in the name and on behalf of
the Subsidiary, as each such Manager, officer, director, or member, as applicable, in his, her or its
discretion, shall deem necessary or advisable to complete and effect the foregoing transactions or
to carry out the intent and purposes of the foregoing resolutions and the transactions contemplated
thereby, the preparation, execution, delivery and performance of any such agreements,
amendments, applications, approvals, certificates, communications, consents, demands,
directions, documents, further assurances, instruments, notices, orders, requests, resolutions,
supplements or undertakings, the payment of any such costs or expenses and the performance of
any such other acts to be conclusive evidence of the approval of the Managers thereof and all
matters relating thereto; and further

        RESOLVED, that all actions heretofore taken by the Authorized Representative and the
officers of the Subsidiary as expressly authorized by the Authorized Representative with respect
to the foregoing transactions and all other matters contemplated by the foregoing resolutions are
hereby approved, adopted, ratified and confirmed.

                                          *      *       *




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 Fill in this information to identify the case:
 Debtor name Aztec/Shaffer, LLC
 United States Bankruptcy Court for the: SOUTHERN DISTRICT OF TEXAS                                                                                   Check if this is an

 Case number (if known):                                                                                                                              amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 30 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 30 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 PGA Champ                       Gordon Strickland                                                                                                                    $6,431,058.60
 Management                                                           Overpayment
 112 PGA Tour Blvd.              GordonStrickland@p
 Ponte Vedra Beach,              gatourhq.com
 FL 32082
 Colonial Country                Michael Tothe                                                                                                                          $689,119.15
 Club                            817-840-2219                         Overpayment
 3735 Country Club               mtothe@colonialfw.c
 Circle                          om
 Fort Worth, TX
 76109
 Travelers                       Kevin Harrington                                                                                                                       $661,210.66
 Championship                    860-982-2044                         Overpayment
 90 State House                  kharrington@travele
 Square                          rschampionship.com
 Hartford, CT 06103
 Sunbelt Rentals                 Lasha Carson                                                                                                                           $553,402.65
 AMEX                            614-541-5340                        Equipment Rental
 PO Box 409211                   lasha.carson@sunb
 Atlanta, GA                     eltrentals.com
 30384-9211
 American Express                Shawn McDowell                                                                                                                         $485,969.46
 PO Box 650448                   shawn.m.mcdowell                    Company Credit
 Dallas, TX                      @aexp.com                               Card
 75265-0448                      512-894-5044
                                 480-296-6784
 Vinson & Elkins                                                                                                                       $10,000 Retainer                 $291,448.44
 PO Box 301019                   Erec R. Winandy                       Professional
 Dallas, TX                      713-758-2222                           Services
 75303-1019                      ewinandy@velaw.co
                                 m
 3M Open                         Jennifer Hines                                                                                                                         $244,661.16
 11074 Rodisson Rd.              763-783-9000                         Overpayment
 Blaine, MN 55449                jhines@3mopen.co
                                 m




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured claims                                 page 1

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 Debtor    Aztec/Shaffer, LLC                                                                                 Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Astros Golf              Colby Callaway                                                                                                                                $139,289.18
 Foundation               210-219-3538                                Overpayment
 501 Crawford Street, ccallaway@astrosgo
 Suite 500                     lf.com
 Houston, TX 77002
 Fabritex, Inc.            Alexis Joiner                                                                                                                                $134,050.50
 1755 Zion CME         706-376-6584 x225                             Rental Inventory
 Church Rd.            alexis@fabritex.com
 Hartwell, GA 30643
 Mainline Carpets         Sandra Bailey                                                                                                                                 $133,967.64
 PO BOX 3026              800-227-3083                                Carpet/Mesh
 Dalton, GA 30721     sandrabailey@mainli
                          necarpets.com
 Sanderson Farms            Jonah Beck                                                                                                                                  $129,390.75
 Championship             601-898-4653                                Overpayment
 576 Highland         jonah@sandersonfar
 Colony Parkway        mschampionship.co
 Suite 110                         m
 Ridgeland, MS
 39157
 Absolute Logistics,       Peggy Reece                                                                                                                                  $103,625.00
 LLC                      580-798-4310                                   Freight
 PO Box 1832           absoluteinc@cableo
 Ardmore, OK 73402             ne.net
 Exeter 10901              Tammy Diezi                                                                                                     $145,000                     $102,000.00
 Tanner, L.P.             832-256-7991                                    Rent                                                          Security Deposit
 101 West Elm Street, tdiezi@exeterpg.co
 Suite 600                         m
 Conshohocken, PA
 19428
 Amerisure Mutual      Shari Fowler-Fazica                                                                                                                                $92,502.32
 Insurance Co.            800-842-0626                                  Insurance
 Lockbox #730502      slower@amerisure.c
 Dallas, TX                       om
 75373-0502
 Latham & Watkins        Cathy Birkeland                                                                                               $50,000 Retainer                   $86,781.28
 PO BOX 2130              312-876-7700                                Professional
 Carol Stream, IL     cathy.berkeland@lw.                              Services
 60132-2130                      com
 UnitedHealthcare           Jane Mayer                                                                                                                                    $71,434.27
 22561 Network            218-279-7933                                   Benefits
 Place                jane_a_mayer@uhc.
 Chicago, IL                     com
 60673-1225
 Enterprise FM Trust       Allen Caswell                                                                                                                                  $70,970.33
 PO Box 800089            713-300-9115                                    Fleet
 Kansas City, MO              Allen.L.
 64180-0089            Caswell@efleets.co
                                   m




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured claims                                 page 2

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 Debtor    Aztec/Shaffer, LLC                                                                                 Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Wrinkle, Gardner &                  Sandy Reeves                                                                                                                         $67,040.21
 Company, P.C.                       281-338-1120                     Professional
 PO Box 1707                      sreeves@wrinklegar                   Services
 Friendswood, TX                       dner.com
 77549
 Extended Stay                        Cori Alvidrez                                                                                                                       $64,425.16
 PO Box 49289                        980-345-1654                       Housing
 Charlotte, NC                   calvidrez@extended
 28277-0076                             stay.com
 Texas Outhouse                      Paulette Atkins                                                                                                                      $64,235.16
 PO Box 4509-1                       713-785-8051                      Sub-Rental
 Houston, TX                     collections@gtxwast
 77210-4509                               e.com
 Trinity Logistics Inc.            Jolene Moorefield                                                                                                                      $45,295.00
 PO Box 536203                       443-245-1110                        Freight
 Pittsburgh, PA                  jolene.moorefield@tr
 15253                             initylogistics.com
 alterDomus                           Sam Buhler                                                                                                                          $40,000.00
 225 W. Washington                   312-605-1009                    AIG Agent Fees
 Street, 9th Floor               samuel.buhler@alter
 Chicago, IL 60606                     domus.com
 Event Carpet Pros,                  Alma Recinos                                                                                                                         $35,712.00
 Inc.                                714-522-7600                     Merchandise
 14301 Alondra Blvd.             alma@eventcarpetpr
 La Mirada, CA 90638                     os.com
 Volm Companies,                   Monica Peterson                                                                                                                        $34,885.44
 Inc.                                715-627-3637                     Carpet/Mesh
 BIN 88589                       ar@volmcompanies.
 Milwaukee, WI                             com
 53288-0589
 Fred's Tents                            Linda                                                                                                                            $34,565.30
 420 Hudson River                    518-233-8368                      Sub-Rental
 Road                            linda@wemaketents.
 Waterford, NY 12188                      com
 Midsouth Glass Co.,                 Nancy Jordan                                                                                                                         $28,344.00
 Inc.                                901-947-4146                    Rental Inventory
 330 S. Parkway W.               nancy@midco-mfg.c
 Memphis, TN 38109                        om
 Hendee Enterprises,                Michelle Canady                                                                                                                       $27,886.76
 Inc.                                713-796-6152                       Supplies
 9350 South Point                michellec@hendee.c
 Drive                                    om
 Houston, TX 77054
 Lyondell Chemical                   Adam Fontaine                                                                                                                        $24,491.31
 Company                             843-416-2484                     Overpayment
 c/o APR                          afontaine@apaudit.c
 PO Box 370                                om
 Mt. Pleasant, SC
 29465




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured claims                                 page 3

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 Debtor    Aztec/Shaffer, LLC                                                                                 Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Best Value Carriers,                 Harry Doles                                                                                                                         $22,940.00
 LLC                                 855-293-2378                      Freight
 2526 Valleydale                  bvc.harry@gmail.co
 Road                                      m
 Hoover, AL 35244
 Meyer, Knight &                                                                                                                                                          $21,489.45
 Williams                                                            Professional
 8100 Washington                     713-868-2222                     Services
 Avenue                            ldk@mkwlaw.com
 Suite 1000
 Houston, TX 77007




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured claims                                 page 4

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